          Case 14-50333-gs        Doc 495    Entered 06/12/19 13:42:27        Page 1 of 3



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  4
      Entered on Docket
  5   June 12, 2019
___________________________________________________________________
  6                            UNITED STATES BANKRUPTCY COURT
  7                                      DISTRICT OF NEVADA
  8                                              ******
  9   In re:                                )              Case No. 14-50333-gs
                                            )              Case No. 14-50331-gs
 10   ANTHONY THOMAS and                    )
                                            )              (Jointly Administered)
 11   WENDI THOMAS,                         )
                                            )              Chapter 7
 12   AT EMERALD, LLC,                      )
                                            )              Hearing on Trustee’s Sale Motion
 13                           Debtors.      )
                                            )              Date: July 19, 2019
 14   ______________________________________)              Time: 1:00 p.m.
 15
                                 SCHEDULING ORDER RE:
 16                   TRUSTEE’S MOTION FOR ORDER CONFIRMING SALE
 17            A status conference on the chapter 7 trustee’s Motion for Order Confirming Sale by
 18   Auction; Request for Approval of Payment of Commission to Stremmel Auctions (ECF No.
 19   430) (Sale Motion) was held before the undersigned on June 4, 2019. Appearances were as
 20   noted on the record. After discussion with counsel for the trustee and the debtor,
 21            IT IS HEREBY ORDERED that the court will hold a final evidentiary hearing on the
 22   trustee’s Motion for Order Confirming Sale by Auction; Request for Approval of Payment of
 23   Commission to Stremmel Auctions (ECF No. 430) on July 19, 2019 at 1:00 p.m. in the Clifton
 24   Young Federal Building, 300 Booth Street, Bankruptcy Courtroom, Fifth Floor, Reno, Nevada,
 25   before Bankruptcy Judge Gary Spraker.
 26            IT IS FURTHER ORDERED that deadlines relating to the final evidentiary hearing on
 27   the Sale Motion are set as follows:
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        Case 14-50333-gs         Doc 495    Entered 06/12/19 13:42:27         Page 2 of 3



 1          a.     No later than Monday, July 8, 2019, the parties must file:
 2                 i.      Final witness lists. Such witnesses presenting direct testimony by
 3                         declaration must be made available for cross-examination in person at
 4                         the hearing on the Sale Motion.
 5                  ii.    Final exhibit lists, identifying such exhibits that the parties jointly agree
 6                         may be admitted into evidence at the final evidentiary hearing by
 7                         stipulation. The parties shall also exchange, but not file, the designated
 8                         exhibits.
 9                  iii.   Each party shall meet with the appropriate Courtroom Deputy not later
10                         than the day before the hearing for the purpose of coordinating trial
11                         exhibits. To that end, before such meeting, each party shall have
12                         lodged the following:
13                         (1)     The original and one copy of all exhibits, bound and tabbed. All
14                                 exhibits shall be marked with stickers on the lower right corner
15                                 of the exhibit whenever possible. Log forms may be obtained
16                                 from the Courtroom Deputy.
17                         All exhibits to which there are no objection shall be admitted by
18                         stipulation. Counsel may stipulate to an exhibit on one ground (e.g.,
19                         foundation) while preserving an objection on another ground (e.g.,
20                         relevance).
21                         (2)     List of witnesses with correct spelling of the witnesses’ full
22                                 names.
23          IT IS SO ORDERED.
24          ****
25   Copies sent to all parties via BNC.
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       Case 14-50333-gs   Doc 495      Entered 06/12/19 13:42:27   Page 3 of 3



 1   **Shaded Area for Court Personnel Use ONLY**
 2
 3   Hearing Date:
 4
                          Case Title                      BK-__________________
 5
          EXHIBITS
 6
                                                         ADV-__________________
 7
 8
     Offered   Admitted   Identification                                   Offers
 9
                                                                           Objections
10
                           #        Witness      Description               Rulings
11
                                                                           Exceptions
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